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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Windsor Sacramento Estates, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Windsor Care Center of Sacramento
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  7447 Sepulveda Blvd.                                          501 Jessie Avenue
                                  Van Nuys, CA 91405                                            Sacramento, CA 95838
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                   Location of principal assets, if different from principal
                                  County                                                        place of business
                                                                                                501 Jessie Avenue Sacramento, CA 95838
                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Windsor Sacramento Estates, LLC                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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Debtor    Windsor Sacramento Estates, LLC                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                           50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Windsor Sacramento Estates, LLC                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 29, 2023
                                                  MM / DD / YYYY


                             X                                                                            Avrohom Tress
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X                                                                             Date September 29, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ron Bender 143364
                                 Printed name

                                 Levene, Neale, Bender, Yoo & Golubchik L.L.P
                                 Firm name

                                 2818 La Cienega Avenue
                                 Los Angeles, CA 90034
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (310) 229-1234                Email address      rb@lnbyg.com

                                 143364 CA
                                 Bar number and State




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Pending Bankruptcy Cases of Affiliates         Case Number        Date Filed            Location
S&F Home Health Opco I, LLC                    1:23-bk-11201-VK        8/23/2023        Central District of California
S&F Hospice Opco I, LLC                        1:23-bk-11202-VK        8/23/2023        Central District of California
S&F Market Street Healthcare, LLC              1:23-bk-11203-VK        8/23/2023        Central District of California
Windsor Care Center National City, Inc.        1:23-bk-11204-VK        8/23/2023        Central District of California
Windsor Cheviot Hills, LLC                     1:23-bk-11206-VK        8/23/2023        Central District of California
Windsor Country Drive Care Center, LLC         1:23-bk-11207-VK        8/23/2023        Central District of California
Windsor Court Assisted Living, LLC             1:23-bk-11208-VK        8/23/2023        Central District of California
Windsor Cypress Gardens Healthcare, LLC        1:23-bk-11209-VK        8/23/2023        Central District of California
Windsor El Camino Care Center, LLC             1:23-bk-11210-VK        8/23/2023        Central District of California
Windsor Elk Grove and Rehabilitation, LLC      1:23-bk-11212-VK        8/23/2023        Central District of California
Windsor Elmhaven Care Center, LLC              1:23-bk-11213-VK        8/23/2023        Central District of California
Windsor Gardens Convalescent Hospital, Inc.    1:23-bk-11214-VK        8/23/2023        Central District of California
Windsor Hampton Care Center, LLC               1:23-bk-11215-VK        8/23/2023        Central District of California
Windsor Hayward Estates, LLC                   To be assigned      Filed Concurrently   Central District of California
Windsor Monterey Care Center, LLC              1:23-bk-11216-VK        8/23/2023        Central District of California
Windsor Rosewood Care Center, LLC              1:23-bk-11217-VK        8/23/2023        Central District of California
Windsor Skyline Care Center, LLC               1:23-bk-11218-VK        8/23/2023        Central District of California
Windsor Terrace Healthcare, LLC (Lead Case)    1:23-bk-11200-VK        8/23/2023        Central District of California
Windsor The Ridge Rehabilitation Center, LLC   1:23-bk-11219-VK        8/23/2023        Central District of California
Windsor Vallejo Care Center, LLC               1:23-bk-11220-VK        8/23/2023        Central District of California
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                     WINDSOR SACRAMENTO ESTATES, LLC
         MEMBER RESOLUTIONS RELATING TO CHAPTER 11 BANKRUPTCY CASE

                                   September 29, 2023

  The following Resolutions were duly enacted by a unanimous vote of the Members (the
  "Members") of Windsor Sacramento Estates, LLC (the "Company"), and the same shall
  remain in full force and effect, without modification, unless and until the Members
  adopt a further resolution to the contrary:

              RESOLVED, that the Company shall file a voluntary petition under
              chapter 11 of the Bankruptcy Code on September 29, 2023 or such
              other date determined by Avrohom Tress (“AT”) to be in the best
              interests of the Company, its creditors and other parties in interest,
              after consultation with the Company’s counsel. AT is authorized to
              sign the voluntary bankruptcy petition and all related documents
              for the Company as the authorized representative of the Company,
              and AT is authorized to designate any other officer, professional or
              designated representative to sign any other documents on behalf of
              the Company.

              FURTHER RESOLVED, that the Company’s retention of Levene,
              Neale, Bender, Yoo & Golubchik L.L.P. (“LNBYG”) to serve as the
              Company’s bankruptcy counsel is approved upon terms that are
              mutually acceptable to the Company and LNBYG. AT, in his capacity
              as the authorized representative of the Company, is hereby
              authorized to negotiate the terms of the Company’s employment of
              LNBYG and to execute the Company’s retention agreement and/or
              bankruptcy employment application with LNBYG or to designate
              any other officer, professional or designated representative to sign
              any such documents on behalf of the Company.

              FURTHER RESOLVED, that, in his capacity as the authorized
              representative of the Company, AT is hereby authorized to cause
              the Company to employ any other professionals to represent or
              assist the Company in connection with the Company’s chapter 11
              bankruptcy case that AT deems to be in the best interests of the
              Company and to execute such other retention agreements and/or
              bankruptcy employment applications or to designate any other
              officer, professional or designated representative to sign any such
              documents on behalf of the Company.

              FURTHER RESOLVED, that following the filing of the Company’s
              chapter 11 bankruptcy case, AT, in his capacity as the authorized
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            representative of the Company, is hereby authorized on behalf of
            and in the name of the Company to execute and file and to cause
            counsel to the Company to prepare with the assistance of the
            Company as appropriate all petitions, schedules, lists and other
            papers, documents and pleadings in connection with the Company’s
            bankruptcy case, and to take any and all action that AT deems
            necessary and proper in connection with the Company’s bankruptcy
            case without the need for any further approval of the Members
            unless the Members subsequently decide to the contrary. Such
            actions that AT has the authority to cause the Company to take
            without any further approval of the Members (unless the Members
            subsequently decide to the contrary) shall include, but not be
            limited to, all of the following: employing and compensating
            professionals; seeking Bankruptcy Court approval for the Company
            to use cash collateral and/or obtain post-bankruptcy financing and
            executing any agreements related to any of the foregoing;
            compensating employees; hiring and terminating employees;
            purchasing product or materials; selling product; entering into or
            continuing with agreements; collecting accounts receivable;
            negotiating with creditors, lenders, vendors, suppliers and
            landlords; assuming, assigning, or rejecting executory contracts and
            unexpired leases; renegotiating the terms of executory contracts
            and unexpired leases; signing new or amended contracts and
            leases; commencing and defending litigation involving the
            Company; selling or liquidating some or substantially all of the
            Company’s assets; causing the Company to propose a plan of
            reorganization or liquidation and related disclosure statement and
            to seek to confirm a plan of reorganization or liquidation; and
            causing the Company to take whatever steps are necessary to be in
            compliance with any orders of the Bankruptcy Court. AT is also
            authorized to designate any other officer, professional or
            designated representative to sign any documents related to any of
            the foregoing on behalf of the Company.

            FURTHER RESOLVED, that all prior acts and deeds of AT or the other
            officers of the Company acting in their capacity as an authorized
            representative of the Company, as the case may be, taken to carry
            out the intent and accomplish the purposes of the foregoing
            resolutions, are hereby approved, adopted, ratified and confirmed
            in all respects as the respective acts and deeds of the Company.




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          IN WITNESS WHEREOF, the above resolutions have been authorized, adopted,
  ratified and approved.

                                          MANAGER:



                                             ___________________________________
                                             AVROHOM TRESS




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Fill in this information to identify the case:

Debtor name         Windsor Sacramento Estates, LLC

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 29, 2023              X
                                                             Signature of individual signing on behalf of debtor

                                                             Avrohom Tress
                                                             Printed name

                                                             Manager
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name Windsor Sacramento Estates, LLC
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                             Check if this is an
                                               CALIFORNIA - SAN FERNANDO
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
HEALTHCARE                Peter Nenstiel                                                                                                                      $785,728.98
SERVICES GROUP
INC                       Pnenstiel@hcsgcor
3220 TILLMAN DR           p.com
SUITE 300                 (215) 639-4274 Ext.
BENSALEM, PA              0000
19020
DEPARTMENT OF             Michael Dugeon                                                                                                                      $760,030.50
HEALTH CARE
SERVICES                  Michael.Dugeon@
MS 1101 PO BOX            DHCS.CA.GOV
997415                    (000) 000-0000 Ext.
SACRAMENTO, CA            0000
95899-7415
SELECT                    Ed Luberski                                                                                                                         $361,473.31
REHABILITATION
PO BOX 71985              eluberski@selectre
CHICAGO, IL               hab.com
60694-1985
NEXTAFF GROUP             Samantha Cole                                                                                                                       $353,421.70
LLC
C/O WEBSTER               Samantha@aercoll
BANK FKA                  ections.com
STERLING BANK             (707) 339-4707 Ext.
PO BOX 75410              0000
CHICAGO, IL
60675-5410
Constance Uhyrek                                                                                                                                              $146,620.40
4713 Greenleaf Ct
Modesto, CA 95356
MCKESSON                  Shane Holloway                                                                                                                      $115,653.51
MEDICAL
SURGICAL                  Shane.Holloway@
P.O. 690693               McKesson.com
CINCINNATI, OH
45263-0693



Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Windsor Sacramento Estates, LLC                                                          Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
SKILLED NURSING           Ben Mandelbaum                                                                                                                      $102,498.46
PHARMACY
16666 E. JOHNSON
DRIVE                     (626) 820-5810 Ext.
SUITE "C"                 0000
CITY OF INDUSTRY,
CA 91745
TWOMAGNETS                Kelly Shermenti                                                                                                                       $94,520.47
PO BOX 103125
PASADENA, CA              kelly.shermenti@cl
91189-3125                ipboardhealth.com
                          (408) 837-0116 Ext.
                          0000
DSK ARCHITECTS            Amir Kakavand                                                                                                                         $87,123.03
926 NATOMA ST
SUITE 200                 ali@dskarch.com
SAN FRANCISCO,            (415) 839-6418 Ext.
CA 94103                  0000
SYSCO FOOD                Shaunett Street                                                                                                                       $70,315.16
SERVICES
PO BOX 138007             Shaunett.Street@s
SACRAMENTO, CA            ysco.com
95813-8007
SACRAMENTO                BJ Abeje                                                                                                                              $69,493.51
VALLEY NURSING
SERVICE                   bja@sacvalleynursi
PO BOX 938                ng.com
RIO LINDA, CA             916-992-9222
95673
Julius Stoker                                                                                                                                                   $33,824.63
(claimant)
Shirley Trueb / The
Barnes Firm
655 W. Broadway
San Diego, CA
92101
EPN ENTERPRISES           Blake Anthony                                                                                                                         $17,044.80
INC
P.O. BOX 650755           banthony@dysjone
DALLAS, TX                s.com
75265-0755
DIGNITY HEALTH            Tammy Wilcox                                                                                                                          $16,329.60
3400 DATA DRIVE
3RD FLOOR
RANCHO
CORDOVA, CA
95670




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Windsor Sacramento Estates, LLC                                                          Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
HANSEN HUNTER &           Kevin Lawrence                                                                                                                        $15,000.00
CO PC
7080 SW FIR LOOP,         KevinL@axiomhc.c
SUITE 100                 om
PORTLAND, OR
97223
DIRECT SUPPLY             Cornelius                                                                                                                             $14,956.76
EQUIPMENT                 Washington III
P.O. BOX 88201
MILWAUKEE, WI             Cwashington@dire
53288                     ctsupply.com
                          (800) 634-7338
GITTLER                   Randy Berg                                                                                                                            $14,041.00
BRADFORD &
BERG                      raberg@gblaw.net
10537 SANTA               (310) 474-4007 Ext.
MONICA BLVD               0000
THIRD FLOOR,
SUITE 300
LOS ANGELES, CA
90025
GIOVANNIELLO              Alex Giovanniello                                                                                                                     $13,626.03
LAW GROUP
ONE POINTE DRIVE          afg@giolawgroup.c
SUITE 300                 om
BREA, CA 92821            (714) 364-4000 Ext.
                          0000
H D SUPPLY                Archie                                                                                                                                $12,584.30
FACILITIES MAINT
PO BOX 509058             archie.hubbard@h
SAN DIEGO, CA             dsupply.com
92150-9058                (800) 798-8888
Katherine Felkins                                                                                                                                               $11,410.93
Dudensing Law
1610 R St
Sacramento, CA
95811




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
See attached list

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None

I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at                                                        , California.
                                                                                                     Avrohom Tress
Date:            September 29, 2023                                                                  Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
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Pending Bankruptcy Cases of Affiliates         Case Number        Date Filed            Location
S&F Home Health Opco I, LLC                    1:23-bk-11201-VK        8/23/2023        Central District of California
S&F Hospice Opco I, LLC                        1:23-bk-11202-VK        8/23/2023        Central District of California
S&F Market Street Healthcare, LLC              1:23-bk-11203-VK        8/23/2023        Central District of California
Windsor Care Center National City, Inc.        1:23-bk-11204-VK        8/23/2023        Central District of California
Windsor Cheviot Hills, LLC                     1:23-bk-11206-VK        8/23/2023        Central District of California
Windsor Country Drive Care Center, LLC         1:23-bk-11207-VK        8/23/2023        Central District of California
Windsor Court Assisted Living, LLC             1:23-bk-11208-VK        8/23/2023        Central District of California
Windsor Cypress Gardens Healthcare, LLC        1:23-bk-11209-VK        8/23/2023        Central District of California
Windsor El Camino Care Center, LLC             1:23-bk-11210-VK        8/23/2023        Central District of California
Windsor Elk Grove and Rehabilitation, LLC      1:23-bk-11212-VK        8/23/2023        Central District of California
Windsor Elmhaven Care Center, LLC              1:23-bk-11213-VK        8/23/2023        Central District of California
Windsor Gardens Convalescent Hospital, Inc.    1:23-bk-11214-VK        8/23/2023        Central District of California
Windsor Hampton Care Center, LLC               1:23-bk-11215-VK        8/23/2023        Central District of California
Windsor Hayward Estates, LLC                   To be assigned      Filed Concurrently   Central District of California
Windsor Monterey Care Center, LLC              1:23-bk-11216-VK        8/23/2023        Central District of California
Windsor Rosewood Care Center, LLC              1:23-bk-11217-VK        8/23/2023        Central District of California
Windsor Skyline Care Center, LLC               1:23-bk-11218-VK        8/23/2023        Central District of California
Windsor Terrace Healthcare, LLC (Lead Case)    1:23-bk-11200-VK        8/23/2023        Central District of California
Windsor The Ridge Rehabilitation Center, LLC   1:23-bk-11219-VK        8/23/2023        Central District of California
Windsor Vallejo Care Center, LLC               1:23-bk-11220-VK        8/23/2023        Central District of California
          Case 1:23-bk-11401-VK                     Doc 1 Filed 09/29/23 Entered 09/29/23 15:11:32                                                    Desc
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Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
State Bar No. & Email Address
Ron Bender 143364
2818 La Cienega Avenue
Los Angeles, CA 90034
(310) 229-1234 Fax: (310) 229-1244
California State Bar Number: 143364 CA
rb@lnbyg.com




 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                            UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

In re:
                                                                                  CASE NO.:
            Windsor Sacramento Estates, LLC
                                                                                  CHAPTER: 11




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 17 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: September 29, 2023
                                                                                         Signature of Debtor 1

Date:
                                                                                         Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: September 29, 2023
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
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a
M
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A
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k
b
}




                       Windsor Sacramento Estates, LLC
                       501 Jessie Avenue
                       Sacramento, CA 95838


                       Ron Bender
                       Levene, Neale, Bender, Yoo & Golubchik L.L.P
                       2818 La Cienega Avenue
                       Los Angeles, CA 90034


                       U.S. Trustee San Fernando Valley
                       915 Wilshire Blvd.
                       Suite 1850
                       Los Angeles, CA 90017


                       21TH CENTURY WEB
                       GALA 15
                       LINK ROAD SADAR, MAHARASHTRA
                       INDIA


                       A C W PRESSURE WASH & STEAM
                       9773 BEN HALL DRIVE
                       GALT, CA 95632


                       Adam McGee
                       The Cartwright Law Firm, Inc.
                       222 Front Street, 5th Floor
                       San Francisco, CA 94111


                       ALAMEDA COUNTY ENVIRONMENTAL HEALTH
                       P.O. BOX N
                       ALMEDA, CA 94501-0108


                       ALEX'S COMPANY
                       7650 SUNSET AVE
                       FAIR OAKS, CA 95628
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                   ALLSTATE PLUMBING COMPANY
                   2000 WARM SPRING COURT
                   SUITE 2
                   FREMONT, CA 94539


                   AP IMAGING
                   PO BOX 10866
                   BURBANK, CA 91510


                   AUTO CHLOR SYSTEM
                   3000 ACADEMY WAY #100
                   SACRAMENTO, CA 95815


                   AXIOM HEALTHCARE GROUP
                   2351 SUNSET BLVD STE 170-897
                   ROCKLIN, CA 95765


                   BARBER RANEN LLP
                   550 SOUTH HOPE ST, SUITE 2400
                   LOS ANGELES, CA 90071


                   BAY MEDIC TRANSPORTATION
                   959 DETROIT AVE
                   CONCORD, CA 94518-2501


                   BEACH LAW GROUP LLP
                   500 E ESPLANADE DR
                   SUITE 1400
                   OXNARD, CA 93036


                   BLUE SHIELD
                   PO BOX 272540
                   CHICO, CA 95927
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                   BRIGGS HEALTHCARE CORP
                   7887 UNIVERSITY BLVD
                   CLIVE, IA 50325


                   CA Dept of Health Care Services
                   Attn: Kenneth K Wang DOJ
                   300 S Spring St No 1702
                   Los Angeles, CA 90013


                   CAHF
                   2201 K ST.
                   SACRAMENTO, CA 95816


                   CALIFORNIA DEPART OF PUBLIC HEALTH
                   P.O. BOX 997434
                   MS 3202
                   SACRAMENTO, CA 95899-7434


                   CALIFORNIA DEPART OF PUBLIC HEALTH
                   CENTER FOR HEALTH CARE QUALITY
                   FISCAL MANAGEMENT BRANCH, MS3202
                   SACRAMENTO, CA 95899-7434


                   California Department of Insurance
                   Attorney General
                   302 S Spring St No 1704
                   Los Angeles, CA 90013


                   California Dept of Public Health
                   Office of the Attorney General
                   301 S Spring St No 1702
                   Los Angeles, CA 90013


                   CALIFORNIA LANDSCAPE ASSOCIATES INC
                   8330 GALENA AVENUE
                   SACRAMENTO, CA 95828
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                   CARESCOPE LLC
                   1455 RESPONSE RD #115
                   SACRAMENTO, CA 95815


                   CDW DIRECT
                   P.O. BOX 75723
                   CHICAGO, IL 60673-5723


                   CENTERS FOR MEDICARE AND MEDICAID SERVIC
                   DIVISION OF ACCOUNTING OPERATIONS
                   MAIL STOP C3-11-03
                   BALTIMORE, MD 21207


                   CERTIPHI SCREENING INC
                   PO BOX 1675
                   SOUTHAMPTON, PA 18966


                   CITY OF LOS ANGELES BUREAU OF SANITATION
                   INDUSTRIAL WASTE MGT DIVISION
                   2714 MEDIA CENTER DRIVE
                   LOS ANGELES, CA 90065


                   COMMUNITY MOBILE DIAGNOSTICS
                   PO BOX 676210
                   DALLAS, TX 75267-6210


                   CONNETICS COMMUNICATIONS LLC
                   11260 EL CAMINO REAL
                   SUITE 210
                   SAN DIEGO, CA 92130


                   Constance Uhyrek
                   4713 Greenleaf Ct
                   Modesto, CA 95356
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                   CORE ANALYTICS LABORATORY INC
                   14735 CALIFA ST
                   VAN NUYS, CA 91411


                   CORE ANALYTICS RADIOLOGY INC
                   14735 CALIFA ST
                   VAN NUYS, CA 91411


                   CORPORATION SERVICE COMPANY
                   251 LITTLE FALLS DRIVE
                   WILMINGTON, DE 19808


                   CULINARY DEPOT
                   67 ROUTE 59
                   SPRING VALLEY, NY 10977


                   DE CASTRO LAW GROUP
                   7590 N GLENOAKS BLVD
                   SUITE 201
                   LOS ANGELES, CA 91504


                   DELAWARE SECRETARY OF STATE
                   DIVISION OF CORPORATIONS
                   PO BOX 5509
                   BINGHAMTON, NY 13902


                   Department of Health and Human Services
                   Federal Building
                   300 N Los Angeles St, Ste 7516
                   Los Angeles, CA 90012


                   DEPARTMENT OF HEALTH CARE
                   ACCESS AND INFORMATION
                   2020 WEST EL CAMINO AVE
                   SUITE 1000
                   SACRAMENTO, CA 95833
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                   DEPARTMENT OF HEALTH CARE SERVICES
                   MS 1101 PO BOX 997415
                   SACRAMENTO, CA 95899-7415


                   DIAGNOSTIC LABORATORIES & RADIOLOGY - AZ
                   PO BOX 676210
                   ATTN: CASH APPS
                   DALLAS, TX 75267-6210


                   DIGNITY HEALTH
                   3400 DATA DRIVE
                   3RD FLOOR
                   RANCHO CORDOVA, CA 95670


                   DIRECT SUPPLY EQUIPMENT
                   P.O. BOX 88201
                   MILWAUKEE, WI 53288


                   DJK COUNSEL LTD
                   1925 CENTURY PARK EAST ST 810
                   LOS ANGELES, CA 90067


                   DJK COUNSEL LTD
                   PO BOX 272640
                   CHICO, CA 95927-2640


                   DOOR 28, INC
                   2505 PORT ST
                   WEST SACRAMENTO, CA 95691


                   DSK ARCHITECTS
                   926 NATOMA ST
                   SUITE 200
                   SAN FRANCISCO, CA 94103
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                   Employment Development Dept.
                   Bankruptcy Group MIC 92E
                   P.O. Box 826880
                   Sacramento, CA 94280-0001


                   ENDEAVOUR
                   45949 WARM SPRINGS BLVD
                   FREMONT, CA 94539


                   EPN ENTERPRISES INC
                   P.O. BOX 650755
                   DALLAS, TX 75265-0755


                   ESTATE OF TERENCE P WATSON SR
                   529 14TH STREET
                   MODESTO, CA 95354


                   FIRECODE SAFETY EQUIPMENT INC
                   3722 W. PACIFIC AVENUE
                   SACRAMENTO, CA 95820


                   FIRST LEGAL NETWORK LLC
                   PO BOX 743451
                   LOS ANGELES, CA 90074


                   Franchise Tax Board
                   Bankruptcy Section, MS: A-340
                   P.O. Box 2952
                   Sacramento, CA 95812-2952


                   FRANCHISE TAX BOARD
                   P.O. BOX 942857
                   SACRAMENTO, CA 94257
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                   G S FIRE PROTECTION INC
                   P.O. BOX 3798
                   MISSION VIEJO, CA 92690-3798


                   Gabriel Scott
                   York Law Firm
                   1111 Exposition Blvd.
                   Sacramento, CA 95815


                   GIOVANNIELLO LAW GROUP
                   ONE POINTE DRIVE
                   SUITE 300
                   BREA, CA 92821


                   GITTLER BRADFORD & BERG
                   10537 SANTA MONICA BLVD
                   THIRD FLOOR, SUITE 300
                   LOS ANGELES, CA 90025


                   GLASSMAN TO THE RESCUE
                   747 SANTA ANA AVE
                   SACRAMENTO, CA 95838


                   GOLDEN STATE REPAIR
                   P.O. BOX 728
                   ROSEVILLE, CA 95661


                   GRAINGER-DEPT 886308907
                   DEPT 886308907
                   PALATINE, IL 60038


                   H D SUPPLY FACILITIES MAINT
                   PO BOX 509058
                   SAN DIEGO, CA 92150-9058
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                   HANSEN HUNTER & CO PC
                   7080 SW FIR LOOP, SUITE 100
                   PORTLAND, OR 97223


                   HARRIS STATIONERS INC
                   8441 Canoga Avenue
                   Canoga Park, CA 91304


                   HEALTHCARE SERVICES GROUP INC
                   3220 TILLMAN DR
                   SUITE 300
                   BENSALEM, PA 19020


                   HORIZON OXYGEN AND MEDICAL EQUIPMENT
                   1837 N NEVILLE ST
                   ORANGE, CA 92865


                   HPSI MENU SERVICES
                   1 ADA
                   SUITE 150
                   IRVINE, CA 92618-5338


                   IDENTITY LINKS
                   6211 W HOWARD ST
                   NILES, IL 60714


                   INTERACTIVE MEDICAL SYSTEMS
                   PO BOX 843789
                   LOS ANGELES, CA 90084-3789


                   Internal Revenue Service IRS
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346
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                   IRON MECHANICAL, INC
                   721 NORTH B ST, SUITE 100
                   SACRAMENTO, CA 95811


                   ITS NEVER 2 LATE LLC
                   P.O. BOX 8500
                   PASADENA, CA 91109-8500


                   J SUPPLE LAW
                   990 FIFTH AVENUE
                   SAN RAFAEL, CA 94901


                   JOANNA M FLAHERTY-MORAN, MSRD
                   13738 IDAHO MARYLAND RD
                   NEVADA CITY, CA 95959


                   Julius Stoker claimant
                   Shirley Trueb / The Barnes Firm
                   655 W. Broadway
                   San Diego, CA 92101


                   Katherine Felkins
                   Dudensing Law
                   1610 R St
                   Sacramento, CA 95811


                   LANGUAGE LINE SERVICES
                   P.O. BOX 202564
                   DALLAS, TX 75320


                   LEGEND VENDING, INC
                   3444 SWETZER RD SUITE L
                   LOOMIS, CA 95650
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                   LOS ANGELES COUNTY TAX COLLECT
                   225 NORTH HILL STREET
                   ROOM 122
                   LOS ANGELES, CA 90012


                   Los Angeles County Tax Collector
                   P.O. Box 54110
                   Los Angeles, CA 90054-0110


                   LOS ANGELES COUNTY TAX COLLECTOR
                   P.O. BOX 54018
                   LOS ANGELES, CA 90054-0018


                   MCKESSON MEDICAL SURGICAL
                   P.O. 690693
                   CINCINNATI, OH 45263-0693


                   MED SUPPLY
                   5105 E DAKOTA AVE STE 102
                   FRESNO, CA 93727


                   MEDACURE INC
                   1274 49TH ST
                   SUITE 28
                   BROOKLYN, NY 11219


                   MEDIC AMBULANCE SERVICE
                   1001 TEXAS ST, STE C
                   FAIRFIELD, CA 94533-5733


                   MICHELLI MEASUREMENT GROUP INC
                   130 BROOKHOLLOW ESPLANADE
                   HARAHAN, LA 70123
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                   MidCap Funding IV Trust, as Agent
                   Attn: Matthew Pappano
                   7255 Woodmont Ave., Suite 200
                   Bethesda, MD 20814


                   MONTEREY COUNTY ENVIRONMENTAL
                   HEALTH BUREAU
                   1270 Natividad Road
                   SALINAS, CA 93906


                   MONTEREY COUNTY TAX COLLECTOR
                   P O BOX 891
                   SALINAS, CA 93902-0891


                   NETWORK SERVICES COMPANY
                   29060 NETWORK PLACE
                   CHICAGO, IL 60673-1290


                   NEXTAFF GROUP LLC
                   C/O WEBSTER BANK FKA STERLING BANK
                   PO BOX 75410
                   CHICAGO, IL 60675-5410


                   NOR CAL FRESH
                   PO BOX 1027
                   ELVERTA, CA 95626


                   NORTHSTAR EMERGENCY
                   P.O. BOX 12347
                   PLEASANTON, CA 94588


                   OCCUPATIONAL HEALTH CENTERS
                   P.O. BOX 3700
                   RANCHO CUCAMONGA, CA 91729
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                   Oxford Finance LLC, As Agent
                   Attn: Patrick McLenahan
                   115 S. Union Street, Suite 300
                   Alexandria, VA 22314


                   PLATINUM REPORTERS INTERPRETERS INC
                   P.O. BOX 6070
                   SAN PEDRO, CA 90734


                   POINTCLICKCARE TECHNOLOGIES INC.
                   PO BOX 674802
                   DETROIT, MI 48267-4802


                   PORTER ONE DESIGN
                   37680 HILLS TECH DR
                   FARMINGTON HILLS, MI 48331


                   PRIME CARE TECHNOLOGIES INC
                   6650 SUGARLOAF PARKWAY
                   SUITE 400
                   DULUTH, GA 30097


                   PURCEL LABS LLC
                   124 S MAPLE DR, SUITE B
                   BEVERLY HILLS, CA 90212


                   QUADIENT FINANCE USA INC
                   PO BOX 6813
                   CAROL STREAM, IL 60197


                   RAMAT MEDICAL
                   5812 W. PICO BLVD.
                   #A
                   LOS ANGELES, CA 90019
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                   RDS FOR HEALTHCARE
                   1420 W. KETTLEMAN LANE N-5
                   LODI, CA 95242


                   REAL TIME MEDICAL
                   PO BOX 645852
                   PITTSBURGH, PA 15264


                   RECRUITMENT ALLEY LLC
                   PO BOX 13188
                   MILWAUKEE, WI 53213


                   REHASTE HARVEY WILSON & SALAMOFF LLP
                   1221 E DYER ROAD
                   SUITE 200
                   SANTA ANA, CA 92705


                   RELIANCE INDUSTRIAL LAUNDRY
                   25363 RODEO FLAT RD
                   AUBURN, CA 95602-8984


                   RJ10 CONSULTING LLC
                   21601 VANOWEN ST
                   SUITE 109
                   Canoga Park, CA 91303


                   S M U D
                   P.O. BOX 15555
                   SACRAMENTO, CA 95852


                   S7 LLC
                   7328 THALLA WAY
                   CITRUS HEIGHTS, CA 95621
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                   SACRAMENTO CONTROL SYSTEMS INC
                   11249 SUNCO DRIVE #3
                   RANCHO CORDOVA, CA 95742


                   SACRAMENTO COUNTY TAX COLLECTOR
                   TAX COLLECTOR'S OFFICE
                   P.O. BOX 508
                   SACRAMENTO, CA 95812


                   SACRAMENTO VALLEY NURSING SERVICE
                   PO BOX 938
                   RIO LINDA, CA 95673


                   SAN JOAQUIN COUNTY
                   ENVIRONMENTAL HEALTH DEPARTMENT
                   1868 E HAZELTON
                   STOCKTON, CA 95205


                   Secretary of the U.S. Dept of Health and
                   Human Services on behalf of the Centers
                   for Medicare and Medicaid Services
                   300 N Los Angeles St, Ste 7516
                   Los Angeles, CA 90012


                   SELECT REHABILITATION
                   PO BOX 71985
                   CHICAGO, IL 60694-1985


                   SEYFARTH SHAW LLP
                   2029 CENTURY PARK EAST
                   SUITE 3500
                   LOS ANGELES, CA 90067


                   SHERWIN WILLIAMS COMPANY
                   3304 E HAMMER LN
                   STOCKTON, CA 95212-2816
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                   SKILLED NURSING PHARMACY
                   16666 E. JOHNSON DRIVE
                   SUITE C
                   CITY OF INDUSTRY, CA 91745


                   SORIAGA ALVIN ANTONIO
                   4083 CITATION DR
                   OLIVEHURST, CA 95961


                   SOUTHGATE GLASS AND SCREEN, INC.
                   6199 WAREHOUSE WAY
                   SACRAMENTO, CA 95826


                   SRC PUMPING COMPANY
                   11350 KIEFER BLVD.
                   SACRAMENTO, CA 95830


                   STAPLES ADVANTAGE
                   PO BOX 660409
                   DALLAS, TX 75266


                   State Board of Equalization
                   Account Info Group, MIC:29
                   P.O. Box 942879
                   Sacramento, CA 94279-0029


                   SYSCO FOOD SERVICES
                   PO BOX 138007
                   SACRAMENTO, CA 95813-8007


                   THE PAUL REVERE LIFE INSURANCE COMPANY
                   1 FOUNTAIN SQUARE
                   CHATTANOOGA, TN 37402-1330
Case 1:23-bk-11401-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:11:32   Desc
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                   TRANSWORLD SYSTEMS INC
                   P.O. BOX 5505
                   CAROL STREAM, IL 60197-5505


                   TWIN MED INC
                   P.O. BOX 847340
                   LOS ANGELES, CA 90084-7340


                   TWOMAGNETS
                   PO BOX 103125
                   PASADENA, CA 91189-3125


                   US FOODS
                   PO BOX 842475
                   LOS ANGELES, CA 90084-2475


                   VITAWERKS INC
                   702 PORTOFINO LN
                   FOSTER CITY, CA 94404


                   WALKER'S OFFICE SUPPLIES, INC.
                   4041 ALVIS COURT
                   ROCKLIN, CA 95677


                   XCHIVE BUSINESS INTELLIGENCE INC
                   PO BOX 3221
                   GRASS VALLEY, CA 95945


                   ZAYO GROUP HOLDINGS INC
                   PO BOX 734521
                   CHICAGO, IL 60673-4521
